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 7 CONNECTICUT and TRAVELERS PROPERTY CASUALTY COMPANY OF
     AMERICA
 8

 9
                                UNITED STATE DISTRICT COURT
10
                           NORTHERN DISTRICT OF CALIFORNIA
11
     THE TRAVELERS INDEMNITY                   CASE NO.:
12 COMPANY OF CONNECTICUT, a
     Connecticut corporation, and              PLAINTIFFS’ COMPLAINT FOR:
13 TRAVELERS PROPERTY                            (1) DECLARATORY RELIEF-DUTY
     CASUALTY COMPANY OF                         TO DEFEND
14 AMERICA, a Connecticut corporation,           (2) DECLARATORY RELIEF-DUTY
                                                 TO INDEMNIFY
15                Plaintiffs,
16         vs.
17 BNSF RAILWAY COMPANY., a
     Delaware Corporation; and DOES 1
18 through 10 inclusive,
19                Defendants.
20

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                                               1

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 1         Come now Plaintiffs THE TRAVELERS INDEMNITY COMPANY OF
 2 CONNECTICUT and TRAVELERS PROPERTY CASUALTY COMPANY OF

 3 AMERICA and plead the following allegations on information and belief in support of

 4 their complaint herein:

 5                                        JURISDICTION
 6         1.     Plaintiff   THE       TRAVELERS          INDEMNITY         COMPANY        OF
 7 CONNECTICUT (“TRAVELERS INDEMNITY”) is now, and at all relevant times was, a

 8 corporation, existing under the laws of the State of Connecticut, with its principal place of

 9 business in Connecticut. TRAVELERS INDEMNITY is, and at all relevant times was, an

10 insurance carrier eligible to do business as an insurer in the State of California.

11         2.     Plaintiff   TRAVELERS        PROPERTY        CASUALTY       COMPANY       OF
12 AMERICA (“TRAVELERS PROPERTY”) is now, and at all relevant times was, a

13 corporation, existing under the laws of the State of Connecticut, with its principal place of

14 business in Connecticut. TRAVELERS PROPERTY is, and at all relevant times was, an

15 insurance carrier eligible to do business as an insurer in the State of California.

16         3.     TRAVELERS PROPERTY and TRAVELERS INDEMNITY are herein
17 collectively referred to as “TRAVELERS.”

18         4.     TRAVELERS is informed and believes and thereon alleges that Defendant
19 BNSF RAILWAY COMPANY (“BNSF”) is now, and at all relevant times was, a

20 corporation, existing under the laws of the State of Delaware, with its principal place of

21 business in Texas. BNSF is, and at all relevant times was, a railway operating in the State

22 of California.

23         5.     Defendants sued herein as DOES 1 through 10, inclusive, are sued herein by
24 such fictitious names because TRAVELERS is unaware of the true names and capacities

25 of said DOE Defendants. TRAVELERS will amend this Complaint to reflect the true

26 names when the same are ascertained. TRAVELERS is informed and believes and thereon

27 alleges that said DOE Defendants are responsible for the acts, events, and circumstances

28 alleged herein, or are interested parties to this action.
                                                   2

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 1         6.     This Court has original jurisdiction under 28 U.S.C. § 1332 in that this is a
 2 civil action between citizens of different states in which the matter in controversy exceeds,

 3 exclusive of costs and interests, two-hundred and fifty thousand dollars ($250,000).

 4         7.     This Court has diversity jurisdiction as all of the plaintiffs are domiciled and
 5 maintain their principal place of business in Connecticut and BNSF is domiciled in

 6 Delaware with its principal place of business in Texas.

 7                                             VENUE
 8         8.     Plaintiff TRAVELERS is informed and believes and thereon alleges that the
 9 acts and/or omissions at issue in this litigation took place in this judicial district within the

10 State of California and the Underlying Action is pending in this judicial district. Venue,

11 therefore, lies with this Court.

12                                 GENERAL ALLEGATIONS
13         A.     The Relevant Insurance Policies
14         9.     TRAVELERS issued consecutively written primary commercial general
15 liability policies to J.L. Patterson & Associates, Inc. numbered 680-6069R253-TCT,

16 effective 9/18/2013-9/18/2015 (“Primary Policies”).

17         10.    TRAVELERS additionally issued consecutively written excess commercial
18 general liability policies to J.L. Patterson & Associates, Inc. numbered XSM-CUP-
19 4161T291 and effective 9/18/2013-9/18/2015 (“Excess Policies”).

20         11.    Under the terms of the Primary Policies, TRAVELERS has an obligation to
21 pay those sums that an insured becomes legally obligated to pay as damages because of

22 “property damage” caused by an “occurrence” during the policy period, subject to various

23 limitations and exclusions in the policies. The terms, limitations, and exclusions of the

24 Primary Policies are set forth, in part, in Commercial General Liability Form CG 00 01 10

25 01, which provides in part as follows:

26         SECTION I – COVERAGES
27         COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
28         LIABILITY
                                                   3

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1    1.       Insuring Agreement.
2    a.       We will pay those sums that the insured becomes legally obligated to
3             pay as damages because of “bodily injury” or “property damage” to
4             which this insurance applies. We will have the right and duty to defend
5             the insured against any “suit” seeking those damages. However, we
6             will have no duty to defend the insured against any “suit” seeking
7             damages for “bodily injury” or “property damage” to which this
8             insurance does not apply.
9    b.       This insurance applies to “bodily injury” and “property damage” only if:
10            (1)   The "bodily injury" or "property damage" is caused by an
11            "occurrence" that takes place in the "coverage territory";
12                                           ***
13   SECTION V– DEFINITIONS
14                                           *.*.*
15   13. "Occurrence" means an accident, including continuous or repeated exposure to
16   substantially the same general harmful conditions.
17                                           ***
18   17. “Property damage” means:
19        a. Physical injury to tangible property, including all resulting loss of use of
20          that property. All such loss of use shall be deemed to occur at the time of
21          the physical injury that caused it; or
22        b. Loss of use of tangible property that is not physically injured. All such
23          loss of use shall be deemed to occur at the time of the “occurrence” that
24          caused it.
25                                           ***
26   22. “Your work”:
27        a. Means:
28          (1) Warranties or representations made at any time with respect to the
                                               4

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1                  fitness, quality, durability, performance or use of "your work", and
2              (2) Materials, parts or equipment furnished in connection with such work
3                 or operations.
4          b. Includes:
5              (1) Warranties or representations made at any time with respect to the
6                  fitness, quality, durability, performance or use of “your work”, and
7              (2) The providing of or failure to provide warnings or instructions.
8        12.    The Primary Policies further contains additional insured endorsements, which
9 provide as follows:

10                  ADDITIONAL INSURED - OWNERS, LESSEES OR
                      CONTRACTORS - SCHEDULED PERSON OR
11                                 ORGANIZATION
12              This endorsement modifies insurance provided under the
                following:
13              COMMERCIAL GENERAL LIABILITY COVERAGE PART
14                                     SCHEDULE
                Names of Additional Insured Person(s) or Organization(s):
15              BNSF RAILWAY …
16
                Location of Covered Operations:
17              ALL OPERATIONS
18
                A. Section II - Who Is An Insured is amended to include as an
19                 additional insured the person(s) or organization(s) shown in
20                 the Schedule, but only with respect to liability for "bodily
                   injury", "property damage", "personal injury" or "advertising
21                 injury" caused, in whole or in part, by:
22
                        1. Your acts or omissions; or
23                      2. The acts or omissions of those acting on your behalf;
24
                in the performance of your ongoing operations for the additional
25              insured(s) at the location(s) designated above.
26
                B. With respect to the insurance afforded to these additional insureds, the
27                 following additional exclusions apply:
28
                                                 5

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 1                  This insurance does not apply to "bodily injury" or "property
                    damage" occurring, or "personal injury" or "advertising
 2                  injury" arising out of an offense committed, after:
 3
                    1. All work, including materials, parts or equipment
 4                     furnished in connection with such work, on the project
 5                     (other than service, maintenance or repairs) to be
                       performed by or on behalf of the additional insured(s) at
 6                     the location of the covered operations has been completed;
 7                     or
                    2. That portion of "your work" out of which the injury or
 8                     damage arises has been put to its intended use by any
 9                     person or organization other than another contractor or
                       subcontractor engaged in performing operations for a
10                     principal as a part of the same project.
11
                                               ***
12
                     ADDITIONAL INSURED - OWNERS, LESSEES OR
13                     CONTRACTORS - SCHEDULED PERSON OR
14                                  ORGANIZATION
                 This endorsement modifies insurance provided under the
15               following:
16               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                        SCHEDULE
17               Names of Additional Insured Person(s) or Organization(s):
18               BNSF RAILWAY …
19               Location of Covered Operations:
20               ALL OPERATIONS
                 …
21
                 Section II - Who Is An Insured is amended to include as an
22               additional insured the person(s) or organization(s) shown in the
                 schedule, but only with respect to liability for "bodily injury" or
23
                 "property damage" caused, in whole or in part, by "your work"
24               at the location designated and described in the schedule or this
                 endorsement performed for that additional insured and included
25
                 in the "products-completed operations hazard".
26        13.    The Primary Policies also include an endorsement entitled “Exclusion –
27 Engineers, Architects or Surveyors Professional Liability”, which provides:

28
                                                 6

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1

2     This endorsement modifies insurance provided under the
      following:
3     COMMERCIAL GENERAL LIABILITY COVERAGE PART
4
      PROVISIONS
5     1. The following is added to Paragraph 2., Exclusions, of
6        SECTION I- COVERAGES - COVERAGE A BODILY
         INJURY AND PROPERTY DAMAGE LIABILITY:
7

8          Professional Services

9          "Bodily injury" or "property damage" arising out of the
10         rendering of or failure to render any "professional services".

11    2. The following is added to Paragraph 2., Exclusions, of
12       SECTION I- COVERAGES - COVERAGE B
         PERSONAL        AND      ADVERTISING         INJURY
13       LIABILITY:
14         Professional Services
15

16         "Personal injury" or "advertising injury" arising out of the
           rendering of or failure to render any "professional services".
17

18    3.      The following is added to DEFINITIONS Section:
19    "Professional services" means any service requiring specialized
20    skill or training, including:
21    a. Preparation, approval, provision of or failure to prepare,
22    approve, or provide any map, shop drawing, opinion, report,
      survey, field order, change order, design, drawing, specification,
23    recommendation, warning, permit application, payment request,
24    manual or instruction;
25    b. Supervision, inspection, quality control, architectural,
26    engineering or surveying activity or service, job site safety,
      construction   contracting,   construction     administration,
27    construction management, computer consulting or design,
28
                                       7

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1                 software development or programming, service, or selection of a
                  contractor or subcontractor; or
2

3                 c. Monitoring, testing, or sampling service necessary to perform
                  any of the services described in Paragraph a. or b. above.
4
           14.    The Primary Policies also include an endorsement entitled “Amendment -
5
     Non Cumulation Of Each Occurrence Limit Of Liability and Non Cumulation Of Personal
6
     And Advertising Injury Limit,” which provides:
7

8                 This endorsement modifies insurance provided under the following:
                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
9

10                1. Paragraph 5 of SECTION III LIMITS OF INSURANCE, is amended
                  to include the following:
11

12                Non cumulation of Each Occurrence Limit -- If one "occurrence"
                  causes "bodily injury" and/or "property damage" during the policy
13                period and during the policy period of one or more prior and/or policies
14                that include a commercial general liability coverage part for the insured
                  issued by us or any affiliated insurance company, the amount we will
15                pay is limited. This policy’s Each Occurrence Limit will be reduced by
16                the amount of each payment by us and any affiliated insurance company
                  under the other policies because of such "occurrence".
17
           15.    The terms, limitations, and exclusions of the Excess Policies are set forth, in
18
     part, in Commercial Excess Liability (Umbrella) Form UM 00 01 11 03, which provides
19
     in part as follows:
20
                  1. INSURING AGREEMENT.
21
                  a.       We will pay on behalf of the insured the "ultimate net loss" in excess
22
                  of the "applicable underlying limit" which the insured becomes legally
23
                  obligated to pay as damages because of "bodily injury", "property damage",
24
                  "personal injury" or "advertising injury" to which this insurance applies.
25
           16.    The Excess Policies further contain substantially the same definitions and
26
     exclusions as set forth at paragraph 11.
27
           17.    The Excess Policies also contain an endorsement entitled “Amendment of
28
                                                   8

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 1 Who Is An Insured”, which provides:

 2               This endorsement modifies insurance provided under the
                 following:
 3

 4               COMMERCIAL           EXCESS          LIABILITY   (UMBRELLA)
                 INSURANCE
 5

 6               Paragraph 2.f. of SECTION II WHO IS AN INSURED is deleted
                 and replaced by the following:
 7

 8               f. Any other person or organization insured under any policy of
                 the "underlying insurance" listed in the
 9               SCHEDULE OF UNDERLYING INSURANCE of the
10               DECLARATIONS of this insurance. This
                 insurance is subject to all the provisions and limitations upon
11               coverage under such policy of "underlying insurance", and, the
12               limits of insurance afforded to such person or organization will
                 be:
13

14               (i) The difference between the "underlying insurance" limits and
                     the minimum limits of insurance which you agreed to
15                   provide; or
16
                 (ii) The limits of insurance of this policy
17

18               whichever is less.
19        18.    The Excess Policies also include an endorsement entitled “Exclusion –

20 Engineers, Architects or Surveyors Professional Liability”, which provides:

21
                 This endorsement modifies insurance provided under the
22               following:
23               COMMERCIAL EXCESS LIABILITY (UMBRELLA)
                 INSURANCE
24

25               1. The following is added to Paragraph 3., Exclusions, of
                    COVERAGE A BODILY INJURY AND PROPERTY
26                  DAMAGE; and COVERAGE B PERSONAL INJURY
27                  AND ADVERTISING INJURY in COVERAGES
                    (Section I):
28
                                                  9

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1
                  Professional Services
2

3                 "Bodily injury" or "property damage," “personal injury” or
                  “advertising injury” arising out of the rendering of or failure
4                 to render any "professional services".
5
             2.      The following is added to DEFINITIONS (Section V):
6

7            "Professional services" means any service requiring specialized
             skill or training, including the following:
8

9            a. Preparation, approval, provision of or failure to prepare,
             approve, or provide any map, shop drawing, opinion, report,
10           survey, field order, change order, design, drawing, specification,
11           recommendation, warning, permit application, payment request,
             manual or instruction;
12

13           b. Supervision, inspection, quality control, architectural,
             engineering or surveying activity or service, job site safety,
14           construction     contracting,   construction   administration,
15           construction management, computer consulting or design,
             software development or programming service, or selection of a
16           contractor or subcontractor; or
17
             c. Monitoring, testing, or sampling service necessary to perform
18           any of the services included in a. or b. above.
19   19.     The Excess Policies additionally provide:
20
             Non cumulation of Each Occurrence Limit - If one "occurrence"
21           causes "bodily injury" and/or "property damage" during the
22           policy period and during the policy period of one or more prior
             and/or future policies that include a COMMERCIAL EXCESS
23           LIABILITY (UMBRELLA) INSURANCE policy for the
24           insured issued by us or any affiliated insurance company, the
             amount we will pay is limited. This policy's Each Occurrence
25           Limit will be reduced by the amount of each payment made by
26           us and any affiliated insurance company under the other policies
             because of such "occurrence".
27

28
                                              10

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1                  To determine the limit of our liability, all "bodily injury" and
                   "property damage" arising out of continuous or repeated
2                  exposure to the same general conditions shall be considered one
3                  "occurrence".
           C.      The Project and Underlying Litigation
4
           20.     TRAVELERS is informed and believes that, in 2013, BNSF negotiated the
5
     purchase of an easement with North Richmond Properties for the purpose of moving
6
     BNSF's track across a small portion of North Richmond Properties’ property.
7
           21.     TRAVELERS is informed and believes that BNSF then engaged the services
8
     of J.L. Patterson & Associates to prepare a project manual, as well as the plans and
9
     specifications related to all aspects of the project.
10
           22.     TRAVELERS is informed and believes that BNSF then engaged the services
11
     of Asta Associates to perform the construction work related to the project.
12
           23.     TRAVELERS is informed and believes that J.L. Patterson & Associates
13
     performed no construction work at the project.
14
           24.     TRAVELERS is informed and believes that North Richmond Properties
15
     claims that BNSF's track relocation project "substantially altered the natural flow of water"
16
     by "the creation of a berm" that held back the natural flow of water and causing North
17
     Richmond Properties’ land to be flooded.
18
           25.     On August 1, 2017, North Richmond Properties filed a complaint against
19
     BNSF Railway Company, J.L Patterson & Associates and Asta Associates in Contra Costa
20
     County Superior Court, Case No. MSC 17-01431, entitled North Richmond Properties v.
21
     BNSF Railway Company, et al. (the “Underlying Action”).
22
           26.     TRAVELERS is informed and believes and based thereon alleges that North
23
     Richmond Properties therein alleged causes of action against BNSF for breach of contract,
24
     specific performance, and negligence arising from a defective storm drain and water
25
     intrusion onto North Richmond Properties’ property.
26
           27.     TRAVELERS is informed and believes that North Richmond Properties’
27
     negligence cause of action alleged that: “J.L. Patterson & Associates designed and prepared
28
                                                    11

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 1 the plans, drawings and specifications for the installation of the drainage improvements,”

 2 “the railroad and Asta relied on the engineering drawings of defendant J. L Paterson &

 3 Associates,” and “Defendant Asta Associates is a contractor who …perform[ed] grading,

 4 construction and drainage work.”

 5         28.     TRAVELERS is informed and believes and based thereon alleges that on or
 6 about May 16, 2019, North Richmond Properties amended its complaint to add causes of

 7 action for nuisance and trespass.

 8         29.     TRAVELERS is informed and believes that the amended complaint continued
 9 to allege that “JLP, engineers hired by BNSF, prepared the plans for the Richmond Rail

10 Connector, including the storm drainage plan that BNSF ensured would prevent any

11 anticipated flooding on NRP's property as a result of BNSF's construction plan for the

12 Easement Area during times of rain.”

13         30.     TRAVELERS is informed and believes and based thereon alleges that J.L.
14 Patterson & Associates’ participation in BNSF’s project was limited solely to preparing

15 the plans for the project and that J.L. Patterson & Associates performed no construction

16 work.

17         D.      BNSF’s Tender
18         31.     BNSF, as an alleged additional insured to the Primary Policies and Excess
19 Policies, tendered its defense and indemnity of North Richmond Properties’ complaint to

20 TRAVELERS for the respective claims being alleged against it in the Underlying Action.

21         32.     On or about August 28, 2019, TRAVELERS denied the tender of BNSF.
22         33.     On or about July 24, 2024, BNSF renewed its tender to TRAVELERS and
23 again demanded a defense and indemnity.

24         34.     BNSF and TRAVELERS disagree regarding whether coverage exists for the
25 Underlying Action under the Primary Policies and Excess Policies. Without a declaration

26 ruling upon this coverage issue, the parties remain at an impasse.

27      FIRST CAUSE OF ACTION FOR DECLARATORY RELIEF – DUTY TO
28
                                                12

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 1                                           DEFEND
 2                     (By TRAVELERS Against BNSF and DOES 1-10)
 3        35.     TRAVELERS hereby re-alleges and incorporates by reference each of the
 4 allegations contained in all preceding paragraphs of this Complaint as though fully set forth

 5 herein.

 6        36.     An actual, present and justiciable controversy has arisen and now exists
 7 between TRAVELERS on the one hand and BNSF on the other, concerning the respective

 8 rights, duties and obligations of TRAVELERS, if any, to pay for the defense of BNSF

 9 against the allegations made in the Underlying Action under the Primary Policies.

10        27      In particular, TRAVELERS contends and BNSF denies the following:
11                a. TRAVELERS has no obligation to defend BNSF in the Underlying Action
12                   with regard to alleged damages other than covered “property damage”
13                   caused by an “occurrence” “caused, in whole or in part, by [J.L. Patterson
14                   & Associates’] acts or omissions.”
15                b. No covered “property damage” caused by an “occurrence” “caused, in
16                   whole or in part, by [J.L. Patterson & Associates’] acts or omissions.” has
17                   been alleged in the Underlying Action.
18                c. There is no coverage available to BNSF for the Underlying Action, and
19                   TRAVELERS is under no duty under the Primary Policies to defend BNSF
20                   with regard to the Underlying Action.
21        28.     TRAVELERS is informed and believes that BNSF disputes these contentions
22 and contends that the Primary Policies require TRAVELERS to provide a defense to BNSF

23 in the Underlying Action.

24        29.     By reason of the foregoing, a declaratory judgment is both proper and
25 necessary, so that the respective rights, duties, and obligations as between TRAVELERS

26 and BNSF may be determined under the provisions of the applicable Primary Policies.

27     SECOND CAUSE OF ACTION FOR DECLARATORY RELIEF- DUTY TO
28                                        INDEMNIFY
                                                 13

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 1                  (By Plaintiff TRAVELERS Against BNSF and DOES 1-10)
 2                                            Count One
 3         30.      Plaintiff incorporates by reference all allegations of the foregoing paragraphs
 4 as if fully set forth herein.

 5         31.      An actual, present and justiciable controversy has arisen and now exists
 6 between TRAVELERS on the one hand and BNSF on the other, concerning the respective

 7 rights, duties and obligations of TRAVELERS, if any, to pay for indemnity of BNSF

 8 against the damages sought in the Underlying Action under the Primary Policies.

 9         32.      In particular, TRAVELERS contends and BNSF denies the following:
10               a. TRAVELERS has no obligation to indemnify BNSF in the Underlying Action
11                  with regard to alleged damages other than covered “property damage” caused
12                  by an “occurrence” “caused, in whole or in part, by [J.L. Patterson &
13                  Associates’] acts or omissions.”
14               b. No covered “property damage” caused by an “occurrence” “caused, in whole
15                  or in part, by [J.L. Patterson & Associates’] acts or omissions has been
16                  alleged in the Underlying Action.
17               c. There is no coverage available under the Primary Policies to BNSF for the
18                  Underlying Action, and TRAVELERS is under no duty to indemnify BNSF
19                  or pay any judgment awarded to North Richmond Properties with regard to
20                  the Underlying Action.
21               d. Even if there was coverage under the Primary Policies, it would be limited by
22                  the non-cumulation endorsement to a single occurrence limit.
23         33.      TRAVELERS is informed and believes that BNSF disputes these contentions
24 and contends that the Primary Policies require TRAVELERS to indemnify BNSF in the

25 Underlying Action.

26         34.      By reason of the foregoing, a declaratory judgment is both proper and
27 necessary, so that the respective rights, duties, and obligations as between TRAVELERS

28 and BNSF may be determined under the provisions of the applicable Primary Policies.
                                                   14

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 1                                            Count Two
 2         30.      Plaintiff incorporates by reference all allegations of the foregoing paragraphs
 3 as if fully set forth herein.

 4         31.      An actual, present and justiciable controversy has arisen and now exists
 5 between TRAVELERS on the one hand and BNSF on the other, concerning the respective

 6 rights, duties and obligations of TRAVELERS, if any, to pay for indemnity of BNSF

 7 against the damages sought in the Underlying Action under the Excess Policies.

 8         32.      In particular, TRAVELERS contends and BNSF denies the following:
 9               a. TRAVELERS has no obligation to indemnify BNSF in the Underlying Action
10                  with regard to alleged damages other than covered “property damage” caused
11                  by an “occurrence” “caused, in whole or in part, by [J.L. Patterson &
12                  Associates’] acts or omissions.”
13               b. No covered “property damage” caused by an “occurrence” “caused, in whole
14                  or in part, by [J.L. Patterson & Associates’] acts or omissions has been
15                  alleged in the Underlying Action.
16               c. There is no coverage available under the Excess Policies to BNSF for the
17                  Underlying Action, and TRAVELERS is under no duty to indemnify BNSF
18                  or pay any judgment awarded to North Richmond Properties with regard to
19                  the Underlying Action.
20               d. Even if there was coverage under the Excess Policies, it would be limited by
21                  the non-cumulation endorsement to a single occurrence limit.
22         33.      TRAVELERS is informed and believes that BNSF disputes these contentions
23 and contends that the Excess Policies require TRAVELERS to indemnify BNSF in the

24 Underlying Action.

25         34.      By reason of the foregoing, a declaratory judgment is both proper and
26 necessary, so that the respective rights, duties, and obligations as between TRAVELERS

27 and BNSF may be determined under the provisions of the applicable Excess Policies.

28
                                                   15

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 1                                    PRAYER FOR RELIEF
 2         TRAVELERS respectfully prays for judgment, as follows:
 3         1.     Under the First Cause of Action, a judicial declaration that TRAVELERS has
 4 no obligation under the Primary Policies to defend BNSF in the Underlying Action.

 5         2.     Under the Second Cause of Action, Count One, a judicial declaration that
     TRAVELERS has no obligation under the Primary Policies to indemnify BNSF as against
 6
     damages sought or awarded in the Underlying Action.
 7
           3.     Under the Second Cause of Action, Count One, a judicial declaration that even
 8
     if TRAVELERS owed an indemnity obligation to BNSF as against the damages sought or
 9
     awarded in the Underlying Action, said obligation would be limited to a single occurrence
10
     limit under the Primary Policies.
11
           4.     Under the Second Cause of Action, Count Two, a judicial declaration that
12
     TRAVELERS has no obligation under the Excess Policies to indemnify BNSF as against
13
     damages sought or awarded in the Underlying Action.
14         5.     Under the Second Cause of Action, Count Two, a judicial declaration that
15 even if TRAVELERS owed an indemnity obligation to BNSF as against the damages

16 sought or awarded in the Underlying Action, said obligation would be limited to a single

17 occurrence limit under the Excess Policies.

18         5.     For prejudgment interest;
19         6.     For costs of suit herein;
20         7.     For such other and further relief as this Court deems just and proper.
21

22 DATED: September 6, 2024                       THE AGUILERA LAW GROUP, APLC
23

24                                                A. Eric Aguilera
                                                  Lindsee Falcone
25                                                V. René Daley
                                                  Counsel of record for plaintiffs
26                                                The Travelers Indemnity Company of
                                                  Connecticut and Travelers Property Casualty
27                                                Company of America
28
                                                 16

                                    TRAVELERS’ COMPLAINT
